Case 2:03-cV-02714-.]DB-tmp Document 57 Filed 08/15/05 Page 1 of 2 Page|D 46

Fu£t) ar _%C...:./~ D.c.
IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE ,
WESTERN DIVISION 05 AUG '5 PH 3' 22

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LoUlSE AFFLIS, &E§§ THJ‘§! ~;L ~§§WYOU§T
W/i) cfr f ze,i;;ir,iPHlS
Piainriff,
v. No. 03-2714-B/P

BAPTIST MEMORIAL HOSPITAL
d/b/a BAPTIST MEMORIAL
HOSPITAL - COLLIERVILLE,

Defendant.

 

ORDER OF REFERENCE

 

Before the court are the Motions in Limine of Defendant Baptist Hospital filed on August
12, 2005.

These motions are referred to the United States Magistrate Judge for determination Any
objections to the magistrate judge’s order shall be made within ten (10) days after service of the
order, setting forth particularly those portions of the order objected to and the reasons for the
objections Failure to timely assign as error a defect in the magistrate judge’s order Will
constitute a Waiver of that objection. S_ee Rule 72(a), Federal Rules of Civil Procedure

IT rs so oRDERED this l_SQR day of August, 2005

F§L»\

OJ. DANIEL BREEN
UNI ED STATES DISTRICT JUDGE

 

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with Rule 58 andlor 79(a)

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 57 in
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Honorable J. Breen
US DISTRICT COURT

